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             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION

FAIR FIGHT ACTION, INC., et al.,

       Plaintiffs,

v.                                               Civil Action File

BRAD RAFFENSPERGER, in his                       No. 1:18-cv-05391-SCJ
official Capacity as Secretary of
State of Georgia; et al.,

       Defendants.

      DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

      COME NOW, Defendants, Brad Raffensperger, in his official capacity

as Secretary of State of the State of Georgia, the State Election Board, and

State Election Board Members Rebecca Sullivan, David Worley, Anh Le, and

Matt Mashburn, by and through counsel, and respectfully file this Motion for

Summary Judgment pursuant to Federal Rule of Civil Procedure 56 for each

of the claims presented in Plaintiffs’ Amended Complaint. Doc. No. [41].

      Defendants submit that there are no genuine issues of material fact

and Defendants are entitled to judgment as a matter of law on each of

Plaintiffs’ claims contained in Counts I – VI of the Amended Complaint

Doc. No. [41], pp. 62-85. Specifically, Plaintiffs have failed to identify

evidence sufficient to show that a reasonable jury could conclude Defendants
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violated any of Plaintiffs’ rights arising under (1) the First and Fourteenth

Amendments to the U.S. Constitution (Count I); (2) the Fifteenth

Amendment to the U.S. Constitution (Count II); (3) the Equal Protection

Clause of the Fourteenth Amendment to the U.S. Constitution (Count III); (4)

the Fourteenth Amendment to the U.S. Constitution’s guarantee to

Procedural Due Process (Count IV); (5) Section 2 of the Voting Rights Act of

1965 (Count V); or (6) the Help America Vote Act of 2002 (Count VI).

      In support of this Motion, Defendants rely upon the pleadings and other

matters of record, as well as the Statement of Material Facts, Brief in Support

of this Motion for Summary Judgment, and the declaration of Chris Harvey,

filed contemporaneously herewith.

      WHEREFORE, Defendants respectfully request that the Court grant

this Motion for Summary Judgment with respect to all of Plaintiffs’ claims and

that this case be dismissed with prejudice.

            Respectfully submitted this 29th day of June, 2020.

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                     CERTIFICATE OF COMPLIANCE

      Pursuant to Local Rule 7.1(D), I hereby certify that the foregoing

DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT was prepared

double-spaced in 13-point Century Schoolbook font, approved by the Court in

Local Rule 5.1(C).



                              /s/Josh Belinfante
                              Josh Belinfante
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                        CERTIFICATE OF SERVICE

      I hereby certify that I electronically filed the foregoing

DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT with the Clerk

of Court using the CM/ECF system, which will send e-mail notification of

such filing to all counsel of record.

      This 29th day of June, 2020.



                                /s/ Josh Belinfante
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